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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                            Chapter 11

    interTouch Topco LLC, et al.,1                                    Case No. 18-12773 (BLS)

                                  Debtors.                            Re: D.I. 19


    CERTIFICATION OF COUNSEL SUBMITTING REVISED CONSENSUAL INTERIM
        ORDER, PURSUANT TO SECTIONS 105(a), 363(c)(1), AND 1108 OF THE
     BANKRUPTCY CODE, (A) AUTHORIZING (I) CONTINUED MAINTENANCE OF
      EXISTING BANK ACCOUNT; (II) CONTINUED USE OF EXISTING BUSINESS
      FORMS; AND (III) THE OPENING AND CLOSING OF BANK ACCOUNTS AND
          (B) WAIVING CERTAIN UNITED STATES TRUSTEE GUIDELINES

             The undersigned proposed counsel for the above-captioned Debtors hereby certifies as

follows:

             1.     On December 18, 2018, the Debtors filed the Motion to Maintain Bank

Accounts and Continued Use of Existing Business Forms, (B) Authorizing the Continued Use of

Existing Cash Management System, and (C) Granting Limited Relief from the Requirements of

Bankruptcy Code Section 345(b) (the “Motion”).

             2.      On December 19, 2018, Gate Worlwide Holdings LLC filed a limited objection to

the Motion, requesting certain changes to the order submitted with the Motion.

             3.     The parties have conferred regarding a revised proposed order granting the Motion,

a copy of which is attached hereto as Exhibit 1 and is being submitted on consent of the parties.

             4.     Attached hereto as Exhibit 2 is a blackline of the revised order against the original

order filed with the Motion.




1
          The Debtors in these chapter 11 cases, and the last four digits of their U.S. taxpayer identification numbers are: interTouch
Holdings LLC (2091) and interTouch Topco LLC (6381). The Debtors’ headquarters is located at 480 Olde Worthington Road,
Suite 350, Westville, OH 43082.
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       WHEREFORE, it is respectfully requested that the Court waive the Pretrial Conference

and enter the Scheduling Order at its earliest convenience without further notice or a hearing.

                                                     Respectfully submitted,

Dated: December 20, 2018
       Wilmington, Delaware                          KLEIN LLC

                                                     /s/ Julia B. Klein
                                                     Julia B. Klein (Bar No. 5198)
                                                     919 North Market Street
                                                     Suite 600
                                                     Wilmington, Delaware 19801
                                                     Phone: (302) 438-0456
                                                     Fax: (302) 300-1733

                                                     Proposed Counsel for the Debtors
                                                     and Debtors in Possession
